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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                     )
                                                     )   Case No. 1:21-cv-00135
                                                     )
                                                     )
 In re Clearview AI, Inc. Consumer Privacy           )   Judge Sharon Johnson Coleman
 Litigation                                          )
                                                     )   Magistrate Judge Maria Valdez
                                                     )
                                                     )
                                                     )
                                                     )

              JOINT MOTION TO STAY CASE UNTIL FEBRUARY 5, 2021

       Plaintiffs David Mutnick, Mario Calderon, Jennifer Rocio, Maria Broccolino, John

McPherson, Sean Burke, James Pomerene, Shelby Roberson, Dean John, Ryan Balfanz, Benjamin

Jais, Rosemary Arias, Aimee Albrecht, Anthony Hall, Chris Marron, and Maryann Daker, and

Defendants Clearview AI, Inc., Hoan Ton-That, and Richard Schwartz (collectively, the

“Clearview Defendants”) by and through their respective counsel, move for a short stay of the

above-captioned matter (the “Action”) through February 5, 2021 to allow Plaintiffs and the

Clearview Defendants to pursue mediation on February 2, 2021 before the Honorable Wayne R.

Andersen (Ret.) in an attempt to resolve the Action. In support of this Motion, the parties state as

follows:

       1.      On December 15, 2020, the Judicial Panel on Multidistrict Litigation issued a

Transfer Order, which transferred to this Court for consolidated pretrial proceedings the following

nine putative class actions: Mutnick v. Clearview AI, Inc., et al. (“Mutnick”), No. 1:20-cv-512

(N.D. Ill.); Hall v. Clearview AI, Inc. (“Hall”), No. 1:20-cv-846 (N.D. Ill.); Marron, et al. v.

Clearview AI, Inc., et al. (“Marron”), No. 1:20-cv-2989 (N.D. Ill.); Calderon, et al. v. Clearview

AI, Inc., et al. (“Calderon”), No. 1:20-cv-1296-CM (S.D.N.Y.); Roberson v. Clearview AI, Inc.
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(“Roberson”), No. 1:20-cv-1296-CM (S.D.N.Y.); Broccolino v. Clearview AI, Inc. (“Broccolino”),

No. 1:20-cv-2222-CM (S.D.N.Y.); Burke, et al. v. Clearview AI, Inc., et al. (“Burke”), No. 1:20-

cv-3104-CM (S.D.N.Y.); McPherson v. Clearview AI, Inc., et al. (“McPherson”), No. 1:20-cv-

3053-CM (S.D.N.Y.); and John, et al. v. Clearview AI, Inc. (“John”), No. 1:20-cv-3481-CM

(S.D.N.Y.). ECF No. 1.

       2.       On January 15, 2021, the Court scheduled a status hearing for January 26, 2021

(“Status Hearing”). ECF No. 2.

       3.       A mediation before the Hon. Wayne R. Andersen (Ret.) has been scheduled on

February 2, 2021. All Plaintiffs and the Clearview Defendants have agreed to participate in the

mediation.

       4.       In light of the upcoming mediation, the parties respectfully request that the Court

enter a short stay in the Action to and through February 5, 2021, and reset the Status Hearing to a

date thereafter. Doing so will allow for the possibility of a negotiated resolution to the Action

while conserving judicial and party resources. Under the circumstances, it would be inefficient

for the Court to expend resources setting deadlines and accepting and reviewing lead counsel

applications.

       5.       Given the short duration of the requested stay and the fact that all Plaintiffs and the

Clearview Defendants are participating in the mediation, no party can claim that the requested stay

will cause any prejudice. Moreover, the requested stay will not unduly delay the Action.

       6.       This is the first request by any party to stay or extend the deadlines in the

consolidated Action.

       WHEREFORE, for these reasons, the parties respectfully request that the Court enter an

order staying the Action until February 5, 2021 and resetting the Status Hearing to a date thereafter.




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DATED: January 22, 2021

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                                    CERTIFICATE OF SERVICE

          I certify that on January 22, 2021 I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will then send a Notice of Electronic Filing to all counsel of

record.

                                                                 By: /s/ Lee Wolosky
                                                                     Lee Wolosky




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